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                            IN THE UNITED STATES BANKRUPTCY COURT

                                     FOR THE DISTRICT OF DELAWARE

In re:                                                    )         Chapter 11
                                                          )
W. R. GRACE & CO., et al.,1                               )         Case No. 01-1139 (JJF)
                                                          )         Jointly Administered
                             Debtors.                     )

                                         CERTIFICATE OF SERVICE

               I, David W. Carickhoff, Jr., hereby certify that a copy of the foregoing documents
was served upon the persons on the attached service list in the manner indicated on this 1st day
of July, 2001:

                   Notice of Filing of Quarterly Fee Application

                   First Quarterly Interim Verified Application of Kirkland & Ellis for
                   Compensation for Services and Reimbursement of Expenses as Bankruptcy
                   Counsel to W. R. Grace 7 Co., et al., for the Interim Period from April 2,
                   2001 through June 30, 2001

                   Summary of the First Quarterly Interim Verified Application of Kirkland &
                   Ellis for Compensation for Services and Reimbursement of Expenses as
                   Bankruptcy Counsel to W. R. Grace 7 Co., et al., for the Interim Period from
                   April 2, 2001 through June 30, 2001



1 The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/k/a
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food ’N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace
Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association,
Inc.), Remedium Group, Inc. (f/k/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross
Country Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.

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                 Order for Compensation for Services and Reimbursement of Expenses of
                 Kirkland & Ellis as Bankruptcy Counsel to W. R. Grace & Co., et al., for the
                 Interim Period from April 2, 2001 through June 30, 2001


                                            /s/ David W. Carickhoff, Jr.
                                            David W. Carickhoff, Jr. (DE Bar No. 3715)
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